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MARY MCCAIN AND JANICE
SHUFFIELD, AS PETITIONERS and
ADMINISTRATRICES,

Plaintiffs,

vs. No. 04-2596 Ma/V
MID-SOUTH TISSUE BANK, INC. ,
UNITED DONOR SERVICES, LLC,
CATHY U'NDERWOOD , TIMOTH'Y BR.AHM
and KEVIN FOLEY, M.D.,

V\_d\_¢`_¢vv-.r\,¢\_¢`_¢\_¢\_pvvg

Defendants.

 

ORDER GRANTING PLAINTIFFS' MOTION TO EXTEND DEADLINE FOR
JOINING OR AMENDING AND DESIGNATING EXPERTS

 

Before the court is the July 15, 2005 motion of the plaintiffs
to extend the deadline for joining or amending and designation of
expert witnesses pursuant to Federal Rule of Civil Procedure 6.
The motion has been referred to the United States Magistrate Judge
for determination" For the following reasons, the motion is
granted.

Pursuant to Local Rule 7.2(a)(2), responses to umtions in
civil cases are to be filed within fifteen days after service of
the motion. The defendants have not filed a response to this
motion, and the time for responding has now expired.

Rule 7.2(a)(2) further provides that “[f]ailure to respond

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timely to any motion, other than one for requesting dismissal of a
claim or action, may be deemed good grounds for granting the
motion.” In the absence of any response by the defendants, the
plaintiffs’ motion to extend the deadline for joining or amending
and designation of expert witnesses is granted.

The plaintiffs shall have until August 15, 2005 for amending
pleadings and joining parties and until September 16, 2005 for
plaintiffs' expert designations and until Nbvember 1. 2005 for
defendants’ expert designations. This extension will not affect
the deadlines for motions set in this case, nor will it affect the
deadline for discovery or the trial date.

IT IS SO ORDERED this 8th day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTR.ATE JU'DGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02596 Was distributed by faX, mail, or direct printing on
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Honcrable Samuel Mays
US DISTRICT COURT

